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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §
                                                           §
HOUTEX BUILDERS, LLC, et al., 1                            §             Case No. 18-34658
                                                           §             Chapter 11
                  DEBTORS.                                 §
                                                           §

           NOTICE OF PROPOSED FINAL ORDER AUTHORIZING DEBTORS
             TO OBTAIN CREDIT AND USE PROCEEDS PURSUANT TO
                   SECOND FUNDING COMMITMENT LETTER

         PLEASE TAKE NOTICE that on November 14, 2018, Houtex Builders, LLC; 415

Shadywood, LLC and 2203 Looscan Lane, LLC, as debtors and debtors in possession (collectively,

the “Debtors”) filed the motion (the “Motion”) for authorization to obtain credit pursuant to

section 364 of title 11 of the United States Code, 11 U.S.C. §§ 101 – 1532 (as amended, the

“Bankruptcy Code”) and for authorization to use the proceeds pursuant to the second funding

commitment letter (the “Second Funding Commitment Letter”).

         PLEASE TAKE FURTHER NOTICE that on November 19, this Court entered the Interim

Order Authorizing Debtors To Obtain Credit Pursuant To Second Funding Commitment Letter (the “Interim

Order”).

         PLEASE TAKE FURTHER NOTICE that pursuant to the Interim Order, the Debtors

must file a proposed Final Order Authorizing Debtors to Obtain Credit and Use Proceeds Pursuant to the

Second Funding Commitment Letter by November 30, 2018.

         PLEASE TAKE FURTHER NOTICE that pursuant to the Motion, the Debtors requested

authority to provide Spirit of Texas Bank and Community Bank of Texas adequate protection

payments on account of their secured loans.

1        The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC
         (7627).



MOTION FOR ORDER AUTHORIZING DEBTORS TO OBTAIN CREDIT
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       PLEASE TAKE FURTHER NOTICE that following entry of the Interim Order, pursuant

to requests made by Spirit of Texas Bank and Community Bank of Texas to increase the adequate

protection payments, the Debtors entered into a revised second funding commitment letter (the

“Revised Second Funding Commitment Letter”) with Charles Foster to provide Spirit of Texas

Bank and Community Bank of Texas adequate protection payments as follows: (a) principal and

interest payments to Spirit of Texas Bank and Community Bank on account of their first-lien

construction loans on the property known as 3 Thornblade and the property known as 2325

Lynbrook, respectively, (b) principal and interest payment to Spirit of Texas Bank on account of

the secured promissory note in the original principal amount of $1.6 million dated May 30, 2014

and (c) interest-only payment to Spirit of Texas Bank on account of the secured line of credit.

       PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit A is a clean version

of the proposed Final Order Authorizing Debtors To Obtain Credit Pursuant To Second Funding

Commitment Letter (“Final Order”) that includes a clean version of the Revised Second Funding

Commitment Letter as an attachment.

       PLEASE TAKE FURTHER NOTICE that attached hereto as Exhibit B is a redline of the

proposed Final Order comparing the changes to the Interim Order that includes a redline of the

Revised Second Funding Commitment Letter comparing the changes to the original Funding

Commitment Letter attached to the Interim Order.



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NOTICE OF PROPOSED FINAL ORDER                                                          Page 2 of 3
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Dated: November 30, 2018                 Respectfully submitted,

                                         DIAMOND McCARTHY LLP

                                         /s/ Charles M. Rubio
                                         Charles M. Rubio
                                         TBA No. 24083768
                                         J. Maxwell Beatty
                                         TBA No. 24051740
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                                         Counsel to Debtors and Debtors-In-Possession




NOTICE OF PROPOSED FINAL ORDER                                                  Page 3 of 3
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                            Exhibit A

                       Proposed Final Order
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                              UNITED STATES BANKRUPTCY COURT
                                SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                     §
HOU-TEX BUILDERS, LLC, et al., 1                           §             Case No. 18-34658
                                                                         Chapter 11
                                                           §
                  DEBTORS.
                                                           §
                                                           §
                                                           §

             FINAL ORDER AUTHORIZING DEBTORS TO OBTAIN CREDIT
              PURSUANT TO SECOND FUNDING COMMITMENT LETTER

         The Court, having considered the Motion for Authority To Obtain Credit Pursuant to Second

Funding Commitment Letter [Dkt. No. 134] (the “Motion”) and the Notice of Proposed Final Order

Authorizing Debtors To Obtain Credit Pursuant to Second Funding Commitment Letter [Dkt. No. ____] (the

“Notice”) filed by Houtex Builders, LLC; 415 Shadywood, LLC and 2203 Looscan Lane, LLC

(collectively, the “Debtors”)2 any responses to the Motion and Notice, the statements of counsel,

and the record in this case, and having held a hearing on the Motion, finds that: (a) it has jurisdiction

over this matter pursuant to 28 U.S.C. § 1334; (b) this is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2); (c) the relief requested in the Motion is in the best interests of the Debtors’ estates,

their creditors, and other parties-in-interest; (d) proper and adequate notice of the Motion and

hearing thereon has been given and no other or further notice is necessary; and (e) good and

sufficient cause exists for the granting of the relief requested. Therefore, it is ORDERED that:




1        The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
         identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC
         (7627).
2        Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT
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        1.      The Debtors are authorized to borrow funds from Charles C. Foster (the “Lender”)

pursuant to the terms of the commitment letter attached hereto as Exhibit A (the “Commitment

Letter”) as follows:

                A.     The Debtor Houtex Builders, LLC (“Houtex”) is authorized to incur debt in the

        principal sum not to exceed $106,521.00 (the actual amount borrowed together with interest,

        the “Houtex Loan”) and shall be entitled to use the proceeds to pay all ordinary and

        necessary expenses in the ordinary course of its business for the purposes contained in the

        budget (the “Houtex Budget”) attached as Exhibit B-1 to the Commitment Letter.

                B. The Debtor 215 Shadywood, LLC (“Shadywood”) is authorized to incur debt in

        the principal sum not to exceed $55,887.00 (the actual amount borrowed together with

        interest, the “Shadywood Loan”) and shall be entitled to use the proceeds to pay all ordinary

        and necessary expenses in the ordinary course of its business for the purposes contained in

        the budget (the “Shadywood Budget”) attached as Exhibit B-2 to the Commitment Letter.

                C. The Debtor 2203 Looscan, LLC (“Looscan”) is authorized to incur debt in the

        principal sum not to exceed $55,666.00 (the actual amount borrowed together with interest,

        the “Looscan Loan”) and shall be entitled to use the proceeds to pay all ordinary and

        necessary expenses in the ordinary course of its business for the purposes contained in the

        budget (the “Looscan Budget” and together with the Houtex Budget and Shadywood

        Budget, the “Budgets”) attached as Exhibit B-3 to the Commitment Letter.

        2.      If there is a delay in payment of certain amounts provided for under the Budgets

because such amounts require Bankruptcy Court approval or there is another reason for delay in the

payment, then such amounts are still authorized under the Budgets even if not paid for in the week

allocated on the Budget so long as the total amount for such item does not exceed the budgeted

amount for such item for all the periods on and prior to the actual week such item is paid.
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        3.      The Lender’s claim, including reasonable attorneys’ fees in the event of a default,

against each Debtor will be an allowed administrative expense claim which shall have priority over

any or all administrative expenses of the kind specified in section 503(b) or 507(b) of this title with

respect to such Debtor, provided that the administrative expense claim will be subject to and

subordinate to the administrative expense claims for the items incurred and paid for pursuant to the

Budgets.

        4.      The Lender is hereby granted a lien on property of the Debtors’ estates that is not

otherwise subject to a lien.

        5.      The Lender is granted a junior lien on property of the estate that is subject to a lien;

provided that the Debtors reserve their rights to challenge the validity of any pre-petition liens and

associated claims and/or avoid the liens by an avoidance action.

        6.      The liens granted to the Lender for the Houtex Loan are on the property of Houtex,

the liens granted to the Lender for the Shadywood Loan are on the property of Shadywood, and the

liens granted to the Lender for the Looscan Loan are on the property of Looscan; the liens are not

cross-collateralized between the Debtors.

        7.      As adequate protection for Spirit of Texas Bank and Community Bank of Texas,

Debtor Houtex Builders, LLC is authorized to make adequate protection payments as follows:

(a) principal and interest payments to Spirit of Texas Bank and Community Bank on account of

their first-lien construction loans on the property known as 3 Thornblade and the property known

as 2325 Lynbrook, respectively, (b) principal and interest payment to Spirit of Texas Bank on

account of the secured promissory note in the original principal amount of $1.6 million dated May

30, 2014 and (c) interest-only payment to Spirit of Texas Bank on account of the secured line of

credit; the foregoing in the amounts set forth below and shown in the line item “Adequate

Protection Payments on Pre‐Petition Secured Debt” in the Houtex Budget:
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                         Week of 12/5/2018
                           Community Bank (Lynbrook note)         26,385.00
                           Spirit of Texas ($1.6MM note)          33,323.00
                           Spirit of Texas (LOC)                    6,342.26
                           Spirit of Texas (Thornblade)           16,153.00
                                                                  82,203.26
                         Weeks of 1/5/2019 and 2/5/2019
                           Community Bank (Lynbrook note)           8,777.00
                           Spirit of Texas (Nored note)           22,052.00
                           Spirit of Texas (LOC)                    3,861.00
                                                                  34,690.00

       8.      The Debtor Houtex Builders, LLC is authorized to (a) enter into a modification of

the Spirit of Texas Bank note dated May 30, 2014 in the original principal amount of $1.6 million to

extend the maturity date of such note to March 30, 2019 and (b) enter into a modification of the

Spirit of Texas Bank line of credit to extend the maturity date to March 30, 2019; provided that,

such modifications shall not increase the interest rate on such loans and provided further that the

Debtor shall not be responsible for any fees related to such modifications.

       9.      The Debtors are authorized to take all actions necessary to effectuate the relief

granted by this order.

       10.     This Court shall retain jurisdiction with respect to all matters arising from or related

to the implementation of this order.



SIGNED this              day of          , 2018.


                                                    UNITED STATES BANKRUPTCY JUDGE
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                            Exhibit A

                    Second Commitment Letter
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ULJKWWRHQIRUFHWKLVFRPPLWPHQWOHWWHU

        7HUPLQDWLRQ 7KH /HQGHU¶V FODLPV VKDOO EHFRPH LPPHGLDWHO\ GXH DQG RZLQJ DQG WKH
/HQGHU¶VREOLJDWLRQVWRPDNHIXUWKHUDGYDQFHVKDOOLPPHGLDWHO\WHUPLQDWHXSRQWKHILUVWWRRFFXU
RIWKHIROORZLQJ HDFKD³7HUPLQDWLRQ(YHQW´  L DQ\RIWKH&KDSWHU&DVHVFRQYHUWWRDFDVH
XQGHU FKDSWHU  RI WKH %DQNUXSWF\ &RGH LL  D FKDSWHU  WUXVWHH LV DSSRLQWHG LQ DQ\ RI WKH
&KDSWHU&DVHV LLL WKHFRQILUPDWLRQRIDSODQLQWKH&KDSWHU&DVHV LY WKHSULQFLSDODVVHW
RI HDFK 'HEWRU LV VROG SXUVXDQW WR D %DQNUXSWF\ &RGH   VDOH RU Y  WKH GDWH WKDW LV VL[
PRQWKVIURPWKHGDWHRIWKLVOHWWHUSURYLGHG KRZHYHU WKH/HQGHULVVWLOOREOLJDWHGWRIXQG WKH
IHHVDQGH[SHQVHVRIWKH'HEWRUV¶SURIHVVLRQDOVDQGWKHIHHVFKDUJHGE\WKH2IILFHRIWKH8QLWHG
6WDWHV7UXVWHHLQFRQQHFWLRQZLWKWKH%DQNUXSWF\&DVHVLQFXUUHGEXWQRW\HWSDLGWKURXJKWKH
GDWHRIWKH7HUPLQDWLRQ(YHQW

       1R 0RGLILFDWLRQ (QWLUH $JUHHPHQW 7KLV DJUHHPHQW PD\ QRW EH DPHQGHG PRGLILHG RU
VXSSOHPHQWHGH[FHSWE\DQDJUHHPHQWLQZULWLQJVLJQHGE\WKH'HEWRUVDQGWKH/HQGHUDQGZLWK
WKHDSSURYDORIWKH%DQNUXSWF\&RXUW

         3DUWLHVLQ,QWHUHVW7KLUG3DUW\%HQHILFLDULHV7KLVOHWWHUDJUHHPHQWLVIRUWKHVROHEHQHILW
RI DQG VKDOO EH ELQGLQJ XSRQ WKH /HQGHU DQG WKH 'HEWRUV 1RWKLQJ LQ WKLV FRPPLWPHQW OHWWHU
H[SUHVVRULPSOLHGLVLQWHQGHGWRRUVKDOOFRQIHUXSRQDQ\SHUVRQRWKHUWKDQWKH'HEWRUVDQGWKH


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/HQGHU DQ\ OHJDO RU HTXLWDEOH ULJKW EHQHILW RU UHPHG\ RI DQ\ QDWXUH ZKDWVRHYHU XQGHU RU E\
UHDVRQRIWKLVOHWWHUDJUHHPHQW

        *RYHUQLQJ /DZ 6XEPLVVLRQ WR -XULVGLFWLRQ 9HQXH 7KLV FRPPLWPHQW OHWWHU VKDOO EH
JRYHUQHG E\ DQG FRQVWUXHG LQ DFFRUGDQFH ZLWK WKH LQWHUQDO ODZV RI WKH 6WDWH RI 7H[DV ZLWKRXW
JLYLQJ HIIHFW WR DQ\ FKRLFH RU FRQIOLFW RI ODZ SURYLVLRQ RU UXOH  7KH SDUWLHV DJUHH WKDW WKH
%DQNUXSWF\&RXUWKDVDXWKRULW\WRLQWHUSUHWDQGHQIRUFHWKHWHUPVRIWKLVFRPPLWPHQWOHWWHU7KH
SDUWLHVLUUHYRFDEO\DQGXQFRQGLWLRQDOO\ZDLYHDQ\REMHFWLRQWRWKHOD\LQJRIYHQXHRIDQ\VXLW
DFWLRQ RU SURFHHGLQJ LQ WKH %DQNUXSWF\ &RXW DQG LUUHYRFDEO\ ZDLYH DQG DJUHH QRW WR SOHDG RU
FODLPWKDWDQ\VXFKVXLWDFWLRQRUSURFHHGLQJEURXJKWLQWKH%DQNUXSWF\&RXUWKDVEHHQEURXJKW
LQDQLQFRQYHQLHQWIRUXP

         :DLYHURI-XU\7ULDO(DFKSDUW\LUUHYRFDEO\DQGXQFRQGLWLRQDOO\ZDLYHVDQ\ULJKWLWPD\
KDYHWRDWULDOE\MXU\LQUHVSHFWRIDQ\OHJDODFWLRQDULVLQJRXWRIRUUHODWLQJWRWKLVFRPPLWPHQW
OHWWHURUWKHWUDQVDFWLRQVFRQWHPSODWHGKHUHE\

       1R $VVLJQPHQW 7KH &RPPLWPHQW HYLGHQFHG E\ WKLV FRPPLWPHQW OHWWHU VKDOO QRW EH
DVVLJQDEOHE\/HQGHUZLWKRXWWKH'HEWRUV¶SULRUZULWWHQFRQVHQW

        &RXQWHUSDUWV 7KLV FRPPLWPHQW OHWWHU PD\ EH H[HFXWHG LQ FRXQWHUSDUWV HDFK RI ZKLFK
VKDOOEHGHHPHGDQRULJLQDOEXWDOORIZKLFKWRJHWKHUVKDOOEHGHHPHGWREHRQHDQGWKHVDPH
DJUHHPHQW $ VLJQHG FRS\ RI WKLV OHWWHU GHOLYHUHG E\ IDFVLPLOH HPDLO RU RWKHU PHDQV RI
HOHFWURQLFWUDQVPLVVLRQVKDOOEHGHHPHGWRKDYHWKHVDPHOHJDOHIIHFWDVGHOLYHU\RIDQRULJLQDO
VLJQHGFRS\RIWKLVFRPPLWPHQWOHWWHU

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                             DSSOLFDWLRQDQGIHHDSSOLFDWLRQIRU6FKPXFN6PLWK7HHV&R3&
         Case 18-34658 Document 167 Filed in TXSB on 11/30/18 Page 16 of 44




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,WHP                                  'DWH                                               $PRXQW
8WLOLWLHV                                                                         
3URIHVVLRQDOIHHV                                                                
,QVXUDQFHSUHPLXP                                                                  
867UXVWHHIHHV                                                                    
7RWDO                                                                                     
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                             DSSOLFDWLRQDQGIHHDSSOLFDWLRQIRU6FKPXFN6PLWK7HHV&R3&
         Case 18-34658 Document 167 Filed in TXSB on 11/30/18 Page 17 of 44




                                           ([KLELW$
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5HSDLUV                                                                           
3URIHVVLRQDOIHHV                                                                
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6HFXULW\                                                                           
7RWDO                                                                                     
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                             DSSOLFDWLRQDQGIHHDSSOLFDWLRQIRU6FKPXFN6PLWK7HHV&R3&
Case 18-34658 Document 167 Filed in TXSB on 11/30/18 Page 18 of 44




                            ([KLELW%
                       +RXWH[6HFRQG%XGJHW
                                 
HoutexȱBuildersȱLLC
WeeklyȱCashȱForecast
                                   11/18/2018                                           12                  12                   12                  12                     1                      1                   1                   1                    1                    2                     2                     2                   2
                                                                   Weekȱ#    0          14                  15                   16                  17                    18                     19                   20                  21                  22                   23                    24                    25                   26              #ȱofȱDays
                                                                WeekȱStart        11/19/2018          11/24/2018            12/1/2018           12/8/2018            12/15/2018             12/22/2018           12/29/2018            1/5/2019           1/12/2019            1/19/2019             1/26/2019              2/2/2019             2/9/2019                177
                                                               WeekȱEnded         11/24/2018           12/1/2018            12/8/2018          12/15/2018            12/22/2018             12/29/2018             1/5/2019           1/12/2019           1/19/2019            1/26/2019              2/2/2019              2/9/2019            2/16/2019             Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                        $                                                                                                                                                                                                                                                                                           –
                                                                             $                                                                                                                                                                                                                                                                                           –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $       265,500              205,165             121,012             107,967                 105,902               104,629               67,339              54,294              52,229               50,956                 15,031               12,756               (2,207)


   DIPȱBalance                                                               $               –             59,335               60,335            144,488                 157,533               159,598             160,871             198,161              211,206              213,271                214,544              250,469             252,744            252,744
   Draw/(Repayment)ȱofȱDIP                                                   $          1,273                1,000              84,153              13,045                   2,065                 1,273              37,290              13,045                2,065                1,273                35,925                 2,275              14,963           209,645


EndingȱDIPȱBalance                                                           $        59,335               60,335             144,488             157,533                 159,598               160,871             198,161             211,206              213,271              214,544                250,469              252,744             267,707


                                                TOTALȱSOURCESȱOFȱCASH        $   $ȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱ84,153   $ȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,065   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱ37,290   $ȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,065   $ȱȱȱȱȱȱȱȱȱȱȱȱ1,273   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ35,925   $ȱȱȱȱȱȱȱȱȱȱȱȱ2,275   $ȱȱȱȱȱȱȱȱȱȱ14,963   $ȱȱȱȱȱȱȱȱȱȱȱ209,645


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000               1,000               2,275                   1,000                 1,000               1,000               2,275                1,000                1,000                  1,000                2,275               1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $                                                                                                                                                                                                                                                                                           –
 Utilitesȱandȱinsurance                                                      $            273                                      950                                       1,065                   273                 950                                    1,065                  273                    235                                      500            5,584
                                            TOTALȱOPERATINGȱEXPENSES         $          1,273                1,000               1,950               2,275                   2,065                 1,273               1,950               2,275                2,065                1,273                  1,235                2,275               1,500            22,409


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $               –                    –                    –                    –                      –                     –                 650                    –                   –                    –                     –                     –                    –           650
 DebtorȱLegalȱFees                                                           $               –                    –                    –            10,770                         –                     –                    –           10,770                      –                    –                     –                     –            13,463            35,003
 AdequateȱProtectionȱPaymentsȱonȱPreȬPetitionȱSecuredȱDebt                   $               –                    –             82,203                      –                      –                     –            34,690                      –                   –                    –              34,690                       –                    –         151,583
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES            $               –                    –             82,203              10,770                         –                    –             35,340              10,770                     –                    –               34,690                      –             13,463           187,236


                                                   TOTALȱUSESȱOFȱCASH        $          1,273                1,000              84,153              13,045                   2,065                 1,273              37,290              13,045                2,065                1,273                35,925                 2,275              14,963




                                                      BEGINNINGȱCASH         $               –                    –                   –                   ($0)                  ($0)                   ($0)                 ($0)                ($0)                ($0)                 ($0)                  ($0)                  ($0)                 ($0)


                                                             ENDINGȱCASH     $               –                    –                   (0)                  (0)                    (0)                   (0)                  (0)                 (0)                 (0)                  (0)                   (0)                   (0)                  0
                                                                                                                                                                                                                                                                                                                                                                                        Case 18-34658 Document 167 Filed in TXSB on 11/30/18 Page 19 of 44
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415ȱShadywoodȱLLC
WeeklyȱCashȱForecast
                                    11/18/2018                                          12                   12                    12                   12                      1                        1                       1                       1                      1                       2                       2                       2                       2
                                                                   Weekȱ#    0          1                    2                     3                     4                      5                        6                       7                       8                      9                      10                      11                      12                      13                #ȱofȱDays
                                                                WeekȱStart        11/19/2018           11/24/2018            12/1/2018             12/8/2018             12/15/2018                12/22/2018              12/29/2018               1/5/2019              1/12/2019               1/19/2019               1/26/2019                2/2/2019                2/9/2019                   89
                                                               WeekȱEnded         11/24/2018           12/1/2018             12/8/2018            12/15/2018             12/22/2018                12/29/2018               1/5/2019               1/12/2019              1/19/2019               1/26/2019                2/2/2019                2/9/2019               2/16/2019               Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcostsȱandȱfirstȱlien                         $                                                                                                          –                                                                                                                                                                                                            –
                                                                             $                                                                                                                                                                                                                                                                                                                       –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                       $       121,000                52,533                51,130               36,645                   35,645                   34,645                  32,995                 19,950                  18,950                  17,950                  16,950                  14,675                      212


   DIPȱBalance                                                               $               –              66,454                68,467               69,870                   84,355                   85,355                  86,355                 88,005                101,050                 102,050                 103,050                 104,050                 106,325            106,325
   Draw/(Repayment)ȱofȱDIP                                                   $          1,553                2,013                 1,403               14,485                     1,000                   1,000                   1,650                 13,045                   1,000                   1,000                   1,000                   2,275                 14,463             55,887


EndingȱDIPȱBalance                                                           $        66,454                68,467                69,870               84,355                   85,355                   86,355                  88,005                101,050                102,050                 103,050                 104,050                 106,325                 120,788


                                                   TOTALȱSOURCESȱOFȱCASH     $   $ȱȱȱȱȱȱȱȱȱȱȱ1,553   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ2,013   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ1,403   $ȱȱȱȱȱȱȱȱȱȱȱ14,485   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,650   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,275   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ14,463   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ55,887


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                                $          1,000                1,000                 1,000                 2,275                    1,000                   1,000                   1,000                   2,275                  1,000                   1,000                   1,000                   2,275                   1,000            16,825
 Constructionȱvendor/supplierȱpayments                                       $              553                  403                   403               1,396                                                                                                                                                                                                                                    2,755
 Utilitesȱandȱinsurance                                                      $                                   610                                         44                                                                                                                                                                                                                                     654

                                               TOTALȱOPERATINGȱEXPENSES      $          1,553                2,013                 1,403                 3,715                    1,000                   1,000                   1,000                   2,275                  1,000                   1,000                   1,000                   2,275                   1,000            20,234


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                                $                –                    –                     –                    –                         –                       –                    650                       –                       –                       –                       –                       –                      –              650
 DebtorȱLegalȱFees                                                           $                –                    –                     –             10,770                           –                       –                       –               10,770                         –                       –                       –                       –               13,463              35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                          $                –                    –                     –                    –                         –                       –                       –                      –                       –                       –                       –                       –                      –               –
                                 TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES           $               –                     –                     –             10,770                           –                       –                    650                10,770                         –                       –                       –                       –               13,463             35,653


                                                       TOTALȱUSESȱOFȱCASH    $          1,553                2,013                 1,403               14,485                     1,000                   1,000                   1,650                 13,045                   1,000                   1,000                   1,000                   2,275                 14,463




                                                         BEGINNINGȱCASH      $               –                     –                     –                    –                      ($0)                    ($0)                    ($0)                    ($0)                   ($0)                    ($0)                    ($0)                    ($0)                    ($0)


                                                            ENDINGȱCASH      $               –                     –                     –                   (0)                       (0)                     (0)                     (0)                    (0)                     (0)                     (0)                     (0)                     (0)                     0
                                                                                                                                                                                                                                                                                                                                                                                                                     Case 18-34658 Document 167 Filed in TXSB on 11/30/18 Page 21 of 44
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2203ȱLooscanȱLLC
WeeklyȱCashȱForecast
                                   11/18/2018                                          12                   12                    12                   12                      1                        1                       1                       1                      1                       2                       2                       2                       2
                                                                  Weekȱ#    0          1                    2                     3                     4                      5                        6                       7                       8                      9                      10                      11                      12                      13                #ȱofȱDays
                                                               WeekȱStart        11/19/2018           11/24/2018            12/1/2018             12/8/2018             12/15/2018                12/22/2018              12/29/2018               1/5/2019              1/12/2019               1/19/2019               1/26/2019                2/2/2019                2/9/2019                   89
                                                              WeekȱEnded         11/24/2018           12/1/2018             12/8/2018            12/15/2018             12/22/2018                12/29/2018               1/5/2019               1/12/2019              1/19/2019               1/26/2019                2/2/2019                2/9/2019               2/16/2019               Total
CASHȱRECEIPTS
 SalesȱProceeds,ȱnetȱofȱclosingȱcosts                                       $                                                                                                          –                                                                                                                                                                                                            –
                                                                            $                                                                                                                                                                                                                                                                                                                       –

 DIPȱCASHȱRECEIPTS
TotalȱDIPȱAvailability                                                      $       117,000                53,168                51,771               37,336                   35,909                   34,909                  33,259                 20,214                  19,214                  18,214                  17,214                  14,939                      476


   DIPȱBalance                                                              $               –              62,435                63,832               65,229                   79,664                   81,091                  82,091                 83,741                  96,786                  97,786                  98,786                  99,786                102,061            102,061
   Draw/(Repayment)ȱofȱDIP                                                  $          1,577                1,397                 1,397               14,435                     1,427                   1,000                   1,650                 13,045                   1,000                   1,000                   1,000                   2,275                 14,463             55,666


EndingȱDIPȱBalance                                                          $        62,435                63,832                65,229               79,664                   81,091                   82,091                  83,741                 96,786                  97,786                  98,786                  99,786                102,061                 116,524


                                                TOTALȱSOURCESȱOFȱCASH       $   $ȱȱȱȱȱȱȱȱȱȱȱ1,577   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ1,397   $ȱȱȱȱȱȱȱȱȱȱȱ14,435   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,427   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,650   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ13,045   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ1,000   $ȱȱȱȱȱȱȱȱȱȱȱȱȱȱȱ2,275   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ14,463   $ȱȱȱȱȱȱȱȱȱȱȱȱȱ55,666


CASHȱDISBURSEMENTS
 G&AȱExpenses                                                               $          1,000                1,000                 1,000                 2,275                    1,000                   1,000                   1,000                   2,275                  1,000                   1,000                   1,000                   2,275                   1,000            16,825
 Constructionȱvendor/supplierȱpayments                                      $              547                  397                   397               1,390                      397                                                                                                                                                                                                           3,128
 Utilitesȱandȱinsurance                                                     $               30                                                                                       30                                                                                                                                                                                                            60

                                            TOTALȱOPERATINGȱEXPENSES        $          1,577                1,397                 1,397                 3,665                    1,427                   1,000                   1,000                   2,275                  1,000                   1,000                   1,000                   2,275                   1,000            20,013


CHAPTERȱ11ȱRELATEDȱEXPENSES
 U.S.ȱTrustee                                                               $                –                    –                     –                    –                         –                       –                    650                       –                       –                       –                       –                       –                      –              650
 DebtorȱLegalȱFees                                                          $                –                    –                     –             10,770                           –                       –                       –               10,770                         –                       –                       –                       –               13,463              35,003
 FirstȱLienȱLenderȱInterestȱExpenseȱandȱLenderȱFees                         $                –                    –                     –                    –                         –                       –                       –                      –                       –                       –                       –                       –                      –               –
                                TOTALȱCHAPTERȱ11ȱRELATEDȱEXPENSES           $               –                     –                     –             10,770                           –                       –                    650                10,770                         –                       –                       –                       –               13,463             35,653


                                                      TOTALȱUSESȱOFȱCASH    $          1,577                1,397                 1,397               14,435                     1,427                   1,000                   1,650                 13,045                   1,000                   1,000                   1,000                   2,275                 14,463




                                                        BEGINNINGȱCASH      $               –                     –                     –                    –                      ($0)                    ($0)                    ($0)                    ($0)                   ($0)                    ($0)                    ($0)                    ($0)                    ($0)


                                                           ENDINGȱCASH      $               –                     –                     –                   (0)                       (0)                     (0)                     (0)                    (0)                     (0)                     (0)                     (0)                     (0)                     0
                                                                                                                                                                                                                                                                                                                                                                                                                    Case 18-34658 Document 167 Filed in TXSB on 11/30/18 Page 23 of 44
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                            Exhibit B

                             Redline
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                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF TEXAS
                                      HOUSTON DIVISION

In re:                                                     §
                                                           §
HOU-TEX BUILDERS, LLC, et al., 1                                        Case No. 18-34658
                                                           §
                                                                        Chapter 11
                    DEBTORS.                               §
                                                           §
                                                           §

        INTERIMFINAL ORDER AUTHORIZING DEBTORS TO OBTAIN CREDIT
            PURSUANT TO SECOND FUNDING COMMITMENT LETTER

           The Court, having considered the Motion for Authority To Obtain Credit Pursuant to Second

Funding Commitment Letter [Dkt. No. ___134] (the “Motion”) and the Notice of Proposed Final Order

Authorizing Debtors To Obtain Credit Pursuant to Second Funding Commitment Letter [Dkt. No. ____] (the

“Notice”) filed by Houtex Builders, LLC; 415 Shadywood, LLC and 2203 Looscan Lane, LLC

(collectively, the “Debtors”),2 any responses to the Motion and Notice, the statements of counsel,

and the record in this case, and having held a hearing on the Motion, finds that: (a) it has jurisdiction

over this matter pursuant to 28 U.S.C. § 1334; (b) this is a core proceeding pursuant to 28 U.S.C. §

157(b)(2); (c) the relief requested in the Motion is in the best interests of the Debtors’ estates, their

creditors, and other parties-in-interest; (d) proper and adequate notice of the Motion and hearing

thereon has been given and no other or further notice is necessary; and (e) good and sufficient cause

exists for the granting of the relief requested. Therefore, it is ORDERED that:

           1.       For the period of time from November 18, 2018, the day following the end of the

budget period under the first commitment letter approved by this Court pursuant to that certain


1     The names of the debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
    identification number, are: Houtex Builders, LLC (2111), 2203 Looscan, LLC (1418) and 415 Shadywood, LLC (7627).
2
      Capitalized terms used but not otherwise defined herein have the meanings ascribed to them in the Motion.



ORDER AUTHORIZING DEBTOR TO OBTAIN CREDIT
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Final Order Authorizing Debtor’s to Obtain Credit [ECF 70] to the date of the hearing to consider

the relief requested in the Motion on a final basis, theThe Debtors are authorized to borrow funds

from Charles C. Foster (the “Lender”) pursuant to the terms of the commitment letter attached

hereto as Exhibit A (the “Commitment Letter”) as follows:

               A.   The Debtor Houtex Builders, LLC (“Houtex”) is authorized to incur debt in the

       principal sum not to exceed $106,521.00 (the actual amount borrowed together with interest,

       the “Houtex Loan”) and shall be entitled to use the proceeds to pay all ordinary and

       necessary expenses in the ordinary course of its business for the purposes contained in the

       budget (the “Houtex Budget”) attached as Exhibit B-1 to the Commitment Letter.

               B. The Debtor 215 Shadywood, LLC (“Shadywood”) is authorized to incur debt in

       the principal sum not to exceed $55,887.00 (the actual amount borrowed together with

       interest, the “Shadywood Loan”) and shall be entitled to use the proceeds to pay all ordinary

       and necessary expenses in the ordinary course of its business for the purposes contained in

       the budget (the “Shadywood Budget”) attached as Exhibit B-2 to the Commitment Letter.

               C. The Debtor 2203 Looscan, LLC (“Looscan”) is authorized to incur debt in the

       principal sum not to exceed $55,666.00 (the actual amount borrowed together with interest,

       the “Looscan Loan”) and shall be entitled to use the proceeds to pay all ordinary and

       necessary expenses in the ordinary course of its business for the purposes contained in the

       budget (the “Looscan Budget” and together with the Houtex Budget and Shadywood

       Budget, the “Budgets”) attached as Exhibit B-3 to the Commitment Letter.

       2.      If there is a delay in payment of certain amounts provided for under the Budgets

because such amounts require Bankruptcy Court approval or there is another reason for delay in the

payment, then such amounts are still authorized under the Budgets even if not paid for in the week
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allocated on the Budget so long as the total amount for such item does not exceed the budgeted

amount for such item for all the periods on and prior to the actual week such item is paid.

        3.       The Lender’s claim, including reasonable attorneys’ fees in the event of a default,

against each Debtor will be an allowed administrative expense claim which shall have priority over

any or all administrative expenses of the kind specified in section 503(b) or 507(b) of this title with

respect to such Debtor, provided that the administrative expense claim will be subject to and

subordinate to the administrative expense claims for the items incurred and paid for pursuant to the

Budgets.

        4.      The Lender is hereby granted a lien on property of the Debtors’ estates that is not

otherwise subject to a lien.

        5.      The Lender is granted a junior lien on property of the estate that is subject to a lien;

provided that the Debtors reserve their rights to challenge the validity of any pre-petition liens and

associated claims and/or avoid the liens by an avoidance action.

        6.      The liens granted to the Lender for the Houtex Loan are on the property of Houtex,

the liens granted to the Lender for the Shadywood Loan are on the property of Shadywood, and the

liens granted to the Lender for the Looscan Loan are on the property of Looscan; the liens are not

cross-collateralized between the Debtors.

        7.      This Court shall hold a hearing to consider the relief requested in the Motion on a

final basis on ____________       ____, 2018 at ___:___ _.m. (CT) at the Unites States Bankruptcy

Court for the Southern District of Texas, Courtroom 401 before the Honorable Judge Norman (the

“Final Hearing”) As adequate protection for Spirit of Texas Bank and Community Bank of Texas,

Debtor Houtex Builders, LLC is authorized to make adequate protection payments as follows: (a)

principal and interest payments to Spirit of Texas Bank and Community Bank on account of their

first-lien construction loans on the property known as 3 Thornblade and the property known as
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2325 Lynbrook, respectively, (b) principal and interest payment to Spirit of Texas Bank on account

of the secured promissory note in the original principal amount of $1.6 million dated May 30, 2014

and (c) interest-only payment to Spirit of Texas Bank on account of the secured line of credit; the

foregoing in the amounts set forth below and shown in the line item “Adequate Protection

Payments on Pre‐Petition Secured Debt” in the Houtex Budget:

       8.      Within two business days of entry of this Interim Order the Debtors shall serve, by

United States mail, first-class postage prepaid, a copy of this Interim Order on the parties having

been given notice of the Interim Hearing, and to any other party that has filed a request for notices

with this Court.

                       Week of 12/5/2018
                        Community Bank (Lynbrook note)          26,385.00
                        Spirit of Texas ($1.6MM note)            33,323.00
                        Spirit of Texas (LOC)                     6,342.26
                          Spirit of Texas (Thornblade)           16,153.00
                                                                 82,203.26
                       Weeks of 1/5/2019 and 2/5/2019
                        Community Bank (Lynbrook note)            8,777.00
                        Spirit of Texas (Nored note)             22,052.00
                          Spirit of Texas (LOC)                   3,861.00
                                                                 34,690.00

       8.      9. The Debtors shall file on the docket in the above-referenced jointly administered

bankruptcy cases a proposed Final Order Authorizing Debtors to Obtain Credit and Use Proceeds Pursuant

to the Second Funding Commitment Letter by __________ ___, 2018. Debtor Houtex Builders,

LLC is authorized to (a) enter into a modification of the Spirit of Texas Bank note dated May 30,

2014 in the original principal amount of $1.6 million to extend the maturity date of such note to

March 30, 2019 and (b) enter into a modification of the Spirit of Texas Bank line of credit to extend

the maturity date to March 30, 2019; provided that, such modifications shall not increase the interest
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rate on such loans and provided further that the Debtor shall not be responsible for any fees related

to such modifications.

       10.     Any party in interest that wants to object to the relief requested in the Motion on a

final basis shall file written objections with the Clerk of the Court no later than on ____________

___, 2018 at 5:00 p.m. (Central Time), which objections shall be served so as to be received on or

before such date by: (a) Diamond McCarthy LLP, 909 Fannin, 37th Floor, Two Houston Center,

Houston, Texas 77010, Attention Charles Rubio, Esq. and Max Beatty, attorneys for the Debtors,

and (b) the Office of the U.S. Trustee, 515 Rusk Street, Suite 3516, Houston, Texas 77002,

Attention: Hector Duran, Esq.; (c) Kasowitz Benson Torres LLP, 1415 Louisiana Street, Suite 2100,

Houston, Texas 77002. Attention: Kyung S. Lee, attorneys for Charles Foster, the Lender.

       9.      11. The Debtors are authorized to take all actions necessary to effectuate the relief

granted by this order.

       10.     12. This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this order.



SIGNED this              day of         , 2018.



                                                  UNITED STATES BANKRUPTCY JUDGE
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                            Exhibit A

                     Second Commitment Letter
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Document comparison by Workshare 9 on Friday, November 30, 2018 2:01:57
PM
Input:
Document 1 ID       interwovenSite://DAL-DMS/imanage/886681/1
                    #886681v1<imanage> - Interim DIP Order for Second
Description
                    Committment Letter 11.13.18
Document 2 ID       interwovenSite://DAL-DMS/imanage/888099/2
                    #888099v2<imanage> - Final DIP Order for Second
Description
                    Committment Letter
Rendering set       standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                    Count
Insertions                                29
Deletions                                 12
Moved from                                 1
Moved to                                   1
Style change                               0
Format changed                             0
Total changes                             43
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                                         Charles C. Foster
                                       17 Courtlandt Place
                                      Houston, Texas 77006
                                           713.335.3904
                                    cfoster@FosterGlobal.com

                                      November 13,30, 2018
HOUTEX Builders, LLC
17 Courtlandt Place
Houston, Texas 77006

415 Shadywood, LLC
17 Courtlandt Place
Houston, Texas 77006

2203 Looscan Lane, LLC
17 Courtlandt Place
Houston, Texas 77006

       Re: Revised Second Funding Commitment

Ladies and Gentlemen:

        HOUTEX Builders, LLC, 415 Shadywood, LLC and 2203 Looscan Lane, LLC
(collectively, the “Debtors”) filed voluntary petitions for relief under chapter 11 of title 11 of the
United States Code, 11 U.S.C. §§ 101 – 1532 (as amended, the “Bankruptcy Code”) with the
United States Bankruptcy Court for the Southern District of Texas, Houston Division (the
“Bankruptcy Court”) commencing chapter 11 cases (the “Chapter 11 Cases”) on August 23,
2018.

        Pursuant to that certain funding Commitment Letter, dated August 23, 2018 (the “First
Funding Commitment”), Charles Foster (the “Lender”) committed to loan up to $186,000.00 (the
“First Funding Commitment Amount”) to the Debtors as follows:

           1. Up to $60,000.00 to HOUTEX Builders, LLC;

           2. Up to $65,000.00 to 415 Shadywood, LLC;

           3. Up to $61,000.00 to 2203 Looscan Lane, LLC.

       As of the date hereof, the Debtors have borrowed and the Lender has advanced the
following amounts to each of the Debtors as follows:

           1. $7,593.26 on account of the Houtex Loan, as more particularly described on
              Exhibit A-1;
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           2. $10,102.00 on account of the Shadywood Loan, as more particularly described on
              Exhibit A-2;

           3. $8,037.00 on account of the Looscan Loan; as more particularly described on
              Exhibit A-3;

     Accordingly, of the $186,000 of availability under the First Funding Commitment
Amount, the Debtors have borrowed $25,732.26.

       Pursuant to this Second Funding Commitment Letter (“Second Funding Commitment”)
Lender will commit to loan up to $325,033.00428,154.00 (the “Commitment”):

           1. Up to $106,521.00209,645.00 to HOUTEX Builders, LLC in accordance with the
              budget attached hereto as Exhibit B-1 (the “Second Houtex Budget”), plus
              $35,653 for unused Chapter 11 Related Expenses from the First Commitment
              Letter (the actual amount loaned together with any applicable interest and fees,
              the “Houtex Loan”);

           2. Up to $55,887.00 to 415 Shadywood, LLC in accordance with the budget attached
              hereto as Exhibit B-2 (the “Second Shadywood Budget”) plus $35,653 for unused
              Chapter 11 Related Expenses from the First Commitment Letter (the actual
              amount loaned together with any applicable interest and fees, the “Shadywood
              Loan”);

           3. Up to $55,666.00 to 2203 Looscan Lane, LLC in accordance with the budget
              attached hereto as Exhibit B-3 (the “Second Looscan Budget”) plus $35,653 for
              unused Chapter 11 Related Expenses from the First Commitment Letter (the
              actual amount loaned together with any applicable interest and fees, the “Looscan
              Loan”).

For avoidance of doubt, the Commitment of $325,033.00428,154.00 under this Second Funding
Commitment is in addition to the $25,732.26 the Lender has already advanced to the Debtors
under the First Funding Commitment, for a total possible principal advances of
$350,762.26453,886.26 under both the First Funding Commitment and the Second Funding
Commitment.

         Use of Proceeds. The proceeds of the Commitment will used by the Debtors to pay for
the following (the “Permitted Expenses”): (i) upon allowance by the Bankruptcy Court, the fees
and expenses incurred by the Debtors’ professionals in the Chapter 11 Cases, (ii) the fees
charged by the Office of the United States Trustee in connection with the Bankruptcy Cases, (iii)
the Bankruptcy Court approved adequate protection payments as follows: (a) principal and
interest-only payments to Spirit of Texas Bank and Community Bank on account of their
first-lien construction loans on the property known as 3 Thornblade and the property known as
2325 Lynbrook, respectively, (b) principal and interest payment to Spirit of Texas Bank on
account of the secured promissory note in the original principal amount of $1.6 million dated
May 30, 2014 and (c) interest-only payment to Spirit of Texas Bank on account of the secured
line of credit, and (iv) the other items set forth in the budgets attached hereto, upon approval of
the budget by the Bankruptcy Court.


                                                                         2
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         Advances. Upon approval of this Commitment Letter with an order acceptable to the
Lender, the Lender shall make advances (each, an “Advance”) to each Debtor up to each
Debtor’s respective Commitment amount. The Lender shall make an advance to the Debtor
within three business days from the date that the Debtor provides written notice to the Lender
that a Permitted Expense has become due and payable. The Advances will incur interest at a
rate of three percent (3%) per annum until paid in full.

        Lender Protections. The Debtors shall stipulate to the amounts advanced to the Debtors
under the First Commitment Letter as set forth herein. The Lender shall have an administrative
expense claim against each Debtor for the amounts advanced to such Debtor under this
commitment letter and the associated interest, and, in the event of a default under the order
approving the loans set out herein (the “DIP Financing Order”), the Lender shall be entitled to
seek and be reimbursed for reasonable legal fees associated with the default and exercise of
remedies by the Lender. The Lender’s claim, including reasonable attorneys’ fees in the event of
a default, against each Debtor will have priority over any or all administrative expenses of the
kind specified in section 503(b) or 507(b) of this title with respect to such Debtor. In addition,
the Debtor grants the Lender a lien on property of the Debtors’ estates that is not otherwise
subject to a lien and grants the Lender a junior lien on property of the estate that is subject to a
lien; provided that the Debtors and the Lender reserve their rights to challenge the validity of any
pre-petition liens and associated claims and/or avoid the liens by an avoidance action.

       Conditions. Until and unless the Bankruptcy Court shall have approved in an order
acceptable to the Lender the loans set out herein, this commitment shall have no force and effect.

        Enforceability. Upon approval by the Bankruptcy Court of this commitment letter, this
commitment letter may be enforced by the Debtors against the Lender. Notwithstanding
anything to the contrary in this commitment letter, none of the Debtors’ creditors shall have the
right to enforce this commitment letter.

        Termination. The Lender’s claims shall become immediately due and owing and the
Lender’s obligations to make further advance shall immediately terminate upon the first to occur
of the following (each a “Termination Event”): (i) any of the Chapter 11 Cases convert to a case
under chapter 7 of the Bankruptcy Code, (ii) a chapter 11 trustee is appointed in any of the
Chapter 11 Cases, (iii) the confirmation of a plan in the Chapter 11 Cases, (iv) the principal asset
of each Debtor is sold pursuant to a Bankruptcy Code § 363 sale, or (v) the date that is six
months from the date of this letter; provided however, the Lender is still obligated to fund the
fees and expenses of the Debtors’ professionals and the fees charged by the Office of the United
States Trustee in connection with the Bankruptcy Cases incurred, but not yet paid, through the
date of the Termination Event.

       No Modification; Entire Agreement. This agreement may not be amended, modified or
supplemented except by an agreement in writing signed by the Debtors and the Lender and with
the approval of the Bankruptcy Court.

       Parties in Interest; Third Party Beneficiaries. This letter agreement is for the sole benefit
of and shall be binding upon the Lender and the Debtors. Nothing in this commitment letter,
express or implied, is intended to or shall confer upon any person other than the Debtors and the


                                                                          3
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Lender any legal or equitable right, benefit or remedy of any nature whatsoever, under or by
reason of this letter agreement.

        Governing Law; Submission to Jurisdiction; Venue. This commitment letter shall be
governed by and construed in accordance with the internal laws of the State of Texas without
giving effect to any choice or conflict of law provision or rule. The parties agree that the
Bankruptcy Court has authority to interpret and enforce the terms of this commitment letter. The
parties irrevocably and unconditionally waive any objection to the laying of venue of any suit,
action or proceeding in the Bankruptcy Cout and irrevocably waive and agree not to plead or
claim that any such suit, action or proceeding brought in the Bankruptcy Court has been brought
in an inconvenient forum.

         Waiver of Jury Trial. Each party irrevocably and unconditionally waives any right it may
have to a trial by jury in respect of any legal action arising out of or relating to this commitment
letter or the transactions contemplated hereby.

       No Assignment. The Commitment evidenced by this commitment letter shall not be
assignable by Lender without the Debtors’ prior written consent.

        Counterparts. This commitment letter may be executed in counterparts, each of which
shall be deemed an original, but all of which together shall be deemed to be one and the same
agreement. A signed copy of this letter delivered by facsimile, e-mail or other means of
electronic transmission shall be deemed to have the same legal effect as delivery of an original
signed copy of this commitment letter.



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                                                                          4
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The Lender acknowledges that the Debtors are relying on this Commitment and the Lender
agrees to be bound to the terms of the Commitment once approved by the Bankruptcy Court.



                                                          Very truly yours,



                                                          Charles Foster

ACCEPTED:

HOUTEX Builders, LLC, Debtor and Debtor in Possession


By_____________________
Charles Foster
Manager

415 Shadywood, LLC, Debtor and Debtor in Possession


By_____________________
Charles Foster
Manager

2203 Looscan Lane, LLC, Debtor and Debtor in Possession


By_____________________
Charles Foster
Manager




                                                                      5
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                                              Exhibit A-1
                               Houtex Borrowings Under First Commitment

Item                                     Date                                  Amount
Utilities                                10/1/18                               $1,309.43
Utilities                                10/5/18                               $63.88
Utilities                                10/26/18                              $756.93
Insurance Premium Payment                9/27/18                               $786.63
Insurance Premium Payment                9/28/18                               $715.11
Repairs                                  10/1/18                               $75.00
Repairs                                  10/8/18                               $917.00
Professional fees1                       10/10/18                              $2,266.00
Security fence                           11/2/18                               $122.00
Utilities                                11/2/18                               $10.65
US Trustee fees                          11/5/18                               $325.00
Utilities                                11/8/18                               $245.63
Total                                                                          $7,593.26




1
      Accounting fees incurred by Schmuck, Smith Tees Co, PC for the benefit of the Debtor, subject to retention
    application and fee application for Schmuck, Smith Tees Co, PC.
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                                            Exhibit A-2
                            Shadywood Borrowings Under First Commitment

Item                                     Date                                  Amount
Utilities                                10/26/18                              $1,409.00
Professional fees1                       10/10/18                              $2,266.00
Insurance premium                        11/2/18                               $6,102.00
US Trustee fees                          11/5/18                               $325.00
Total                                                                          $10,102.00




1
      Accounting fees incurred by Schmuck, Smith Tees Co, PC for the benefit of the Debtor, subject to retention
    application and fee application for Schmuck, Smith Tees Co, PC.
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                                             Exhibit A-3
                              Looscan Borrowings Under First Commitment

Item                                     Date                                  Amount
Repairs                                  10/14/18                              $122.00
Professional fees1                       10/10/18                              $2,266.00
Insurance premium                        11/2/18                               $4,025.00
US Trustee fees                          11/5/18                               $325.00
Security                                 11/1/18                               $1,299.00
Total                                                                          $8,037.00




1
      Accounting fees incurred by Schmuck, Smith Tees Co, PC for the benefit of the Debtor, subject to retention
    application and fee application for Schmuck, Smith Tees Co, PC.
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                            Exhibit B-1
                       Houtex Second Budget
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                           Exhibit B-2
                     Shadywood Second Budget
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                            Exhibit B-3
                       Looscan Second Budget
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Document comparison by Workshare 9 on Friday, November 30, 2018 1:14:18
PM
Input:
                    file://C:\Users\Rubioc\OneDrive\Diamond
Document 1 ID       McCarthy\Houtex\Second DIP Committment\Foster
                    Second Commitment Letter DM 11.13.18.docx
Description         Foster Second Commitment Letter DM 11.13.18
                    file://C:\Users\Rubioc\OneDrive\Diamond
Document 2 ID       McCarthy\Houtex\Second DIP Committment\Foster
                    Revised Second Commitment Letter DM 11.30.18.docx
Description         Foster Revised Second Commitment Letter DM 11.30.18
Rendering set       standard

Legend:
Insertion
Deletion
Moved from
Moved to
Style change
Format change
Moved deletion
Inserted cell
Deleted cell
Moved cell
Split/Merged cell
Padding cell

Statistics:
                    Count
Insertions                                8
Deletions                                 6
Moved from                                0
Moved to                                  0
Style change                              0
Format changed                            0
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Total changes                        14
